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                                                   FOR PUBLICATION
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                                     UNITED STATES BANKRUPTCY COURT
       5
                                      EASTERN DISTRICT OF CALIFORNIA
       6
       7
       8
       9   In re                               )              Case No. 14-30222-E-13
                                               )
      10   CAMERON ELFORD,                     )
                                               )
      11                     Debtor.           )
                                               )
      12                                       )
           DAVID SCHOONOVER,                   )              Adv. Proc. No. 20-2014
      13                                       )              Docket Control No. BHS-1
                             Plaintiff,        )
      14                                       )
           v.                                  )
      15                                       )
           CAMERON ELFORD,                     )
      16                                       )
                             Defendant.        )
      17   ___________________________________ )
      18
                                   MEMORANDUM OPINION AND DECISION
      19                            MOTION FOR SUMMARY JUDGMENT
      20           On May 27, 2020, David Schoonover, the “Plaintiff,” filed a Motion for Summary Judgment
      21   pursuant to Federal Rule of Civil Procedure 56 and Federal Rule of Bankruptcy Procedure 7056 and
      22   supporting pleadings thereto.1 Dckts. 23-28. On June 23, 2020, Cameron Elford, “Defendant-
      23   Debtor,” filed an Opposition and related opposition pleadings. The above relief is requested in
      24   Plaintiff’s First Amended Complaint filed on February 19, 2020. Dckt. 7. Defendant-Debtor filed
      25   his Answer on March 26, 2020. Dckt. 13. No trial has been set in this Adversary Proceeding.
      26
                   1
      27              The Motion for Summary Judgment has been set for hearing on the notice required by Local
           Bankruptcy Rule 9014-1(f)(1). The Proof of Service states that the Motion and supporting pleadings were
      28   served on Debtor's Attorney, Chapter 13 Trustee, and Office of the U.S. Trustee on May 27, 2020. By the
           court's calculation, 48 days' notice was provided. 28 days' notice is required.
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       1   Overview of Complaint and Answer
       2           Plaintiff commenced this Adversary Proceeding for a determination that the obligations
       3   owing on the Amended Judgment on Verdict for $2,962,902.77 (“Amended Judgment on Verdict”)
       4   in David Schoonover et al. v. Cameron Elford and Lisa Pashanee, California Superior Court Case,
       5   County of Sacramento, No. 34-2012-00131228 (“State Court Action”); and the order for restitution
       6   in the amount of $376,200.00 (“Restitution Order”) in In Matter of Cameron Elford, Minor,
       7   California Superior Court Juvenile Case, County of Sacramento, No. 132824 (“Juvenile Case”), are
       8   nondischargeable in the Chapter 13 Case filed by Cameron Elford, 14-2014.
       9           These monetary claims arise out of a head-on collision that occurred in July 2012, for which
      10   Defendant-Debtor pleaded no contest to felony drunk driving by a minor and for which
      11   corroborating testimony was provided by a passenger in the car being driven by the Defendant-
      12   Debtor at the time of the accident. The court reviews the evidence presented and the findings and
      13   conclusions in the State Court Action and the Juvenile Case in this Decision.
      14           Defendant-Debtor’s Answer begins with a general denial of “any allegation that Plaintiff
      15   has been, is, or will be damaged in the amount alleged, or any manner or sum whatsoever, or entitled
      16   to any recovery or remedy of any type whatsoever, be [sic] or any act, conduct, or omission of
      17   Defendant[-Debtor].” This general denial was made as to Plaintiff suffering any damages due to
      18   the head-on collision when Defendant-Debtor, a 17 year old, was driving while intoxicated,
      19   notwithstanding the Restitution Order for $376,200.00 having been entered six years earlier on
      20   April 25, 2014, and the State Court Judgment for $2,962,902.77 having been entered December 19,
      21   2015, four and one-half years earlier. Both the Restitution Order and the State Court Judgment are
      22   expressly for the damages caused Plaintiff by Defendant-Debtor in the head-on collision of
      23   Defendant-Debtor’s vehicle into Plaintiff’s vehicle. 2
      24           The Answer continues, in which Defendant-Debtor asserts that he need not respond to the
      25
                   2
      26              As is obvious in reading this Decision, the court has taken exception to Defendant-Debtor’s
           liberally stated defenses, objections, and statements of law, which at the least border on violating the
      27   certifications arising under Federal Rule of Bankruptcy Procedure 9011. The court has closely considered
           such defenses, objections, and statements of law, notwithstanding that they could appear facially
      28   inapplicable, inaccurate, or unsupported by the evidence presented to the court.

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       1   allegations in the first seven paragraphs of the Amended Complaint. However, if required to
       2   respond, Defendant-Debtor denies such to the extent that they are an allegation of fact. These
       3   statements that no response is required, and if so, that each such allegation is affirmatively denied
       4   by Defendant-Debtor, includes the following allegations:
       5
                  Paragraph 1 of the Amended Complaint which alleges that Defendant-Debtor filed a
       6          voluntary Chapter 13 case – which Defendant-Debtor denies.
       7          Paragraph 2 of the Amended Complaint which alleges that Defendant-Debtor’s voluntary
                  bankruptcy case is pending in the Eastern District of California – which Defendant-Debtor
       8          denies .
       9          Paragraph 3 of the Amended Complaint which alleges that Defendant-Debtor is an
                  individual – which Defendant-Debtor denies.
      10
                  Paragraph 4 of the Amended Complaint which alleges the federal court jurisdiction which
      11          arises under 28 U.S.C. § 1334, the exercise of that jurisdiction by bankruptcy judges, and the
                  reference of all matters for which jurisdiction exists pursuant to 28 U.S.C. § 1334 – which
      12          Defendant-Debtor denies.
      13          Paragraph 5 of the Amended Complaint which alleges that this Adversary Proceeding is a
                  core matter proceeding for which the bankruptcy judge issues all final orders and the
      14          judgment – which Defendant-Debtor denies.
      15          Paragraph 6 of the Amended Complaint which alleges that Defendant is a resident of
                  Sacramento County, California, which is situated within the Eastern District of California
      16          – which Defendant-Debtor denies.
      17   Answer ¶¶ 1, 2, 3, 4, 5, and 6; Dckt. 13.
      18          It is questionable as to how Defendant-Debtor can deny that he commenced the identified
      19   voluntary bankruptcy case and that he is a living, breathing individual. Also, the court cannot
      20   identify any good faith basis for Defendant-Debtor asserting that the determination of whether a
      21   discharge of these debts are proper arising under the Bankruptcy Code (11 U.S.C. §§ 523(a)(9) and
      22   1328(a)(3) and (a)(4)) is not a core matter proceeding.
      23          With respect to the allegations of federal court jurisdiction and whether this is a core matter
      24   proceeding, the U.S. Supreme Court has adopted Federal Rule of Civil Procedure 8 and Federal Rule
      25   of Bankruptcy Procedure 7008, which incorporates and expands Federal Rule of Civil Procedure 8
      26   into bankruptcy adversary proceedings.
      27          Defendant-Debtor’s general denial does not appear to comply with the Federal Rule of Civil
      28   Procedure 8(b)(3) [emphasis added], which allows for a general denial only when,

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       1            A party that intends in good faith to deny all the allegations of a
                  pleading—including the jurisdictional grounds. . . .”
       2
       3   Federal Rule of Civil Procedure 8(b)(1)(B) further requires that the responding defendant “[m]ust
       4   . . . (B) admit or deny the allegations asserted against it by an opposing party.” Defendant-Debtor
       5   has failed to comply with these provisions of Federal Rule of Civil Procedure 8(b).
       6           Federal Rule of Bankruptcy Procedure 7012, which incorporates Federal Rule of Civil
       7   Procedure 12 into adversary proceedings, requires the Defendant-Debtor in this Adversary
       8   Proceeding to include in the responsive pleading “a statement that the party does or does not consent
       9   to entry of final orders or judgment by the bankruptcy court.” Fed. R. Bank. P. 7012(b). This is to
      10   document early on whether for non-core matters the parties consent to the bankruptcy judge issuing
      11   all final orders and judgment. Defendant-Debtor neglected to comply with this provision of Federal
      12   Rule of Bankruptcy Procedure 7012(b). See Answer, Dckt. 13.
      13
           Admissions in Answer Relating to
      14   The Restitution Order and The Amended Judgment on Verdict
      15          The First Amended Complaint includes the following Exhibits which are identified in the
      16   following paragraphs of the Complaint:
      17
                   Exhibit A, Restitution Order; Dckt. 27.
      18
                               9. On July 22, 2012, Plaintiff suffered grievous injuries caused by a
      19                  head-on traffic accident with Defendant. See, Exhibit "A," page 1: 13-15,
                          Order Re: Restitution, Sacramento Superior Court, R. Steven Lapam, Judge
      20                  of the Superior Court, April 25, 2014.
      21           Complaint ¶ 9, Dckt. 7.
      22          Exhibit B - The Amended State Court Judgment on Verdict; Id. at 16.
      23                      16. On December 9, 2015, nunc pro tunc to October 23, 2015, Judge
                          Gerrit W. Wood of the Sacramento Superior Court issued an Amended
      24                  Judgment on Verdict in case no. 34-2012-00131228 entitled David
                          Schoonover and Thuy Bich Van v. Cameron Taylor Elford and Lisa J.
      25                  Pashanee. See, Exhibit "B."
      26          Complaint ¶ 16; Id.
      27          In his Answer, Defendant-Debtor makes the following admissions and denials with respect
      28   to these two exhibits:

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       1                  9. Answering paragraph 9 of the Complaint, Defendant admits only that the
                          pleadings filed with the court are writings that speak for themselves. To the
       2                  extent the allegations contained in Paragraph 9 of the Complaint differ from,
                          are inconsistent with, or improperly characterized the content of these
       3                  writings, those allegations are denied.
       4          Answer ¶ 9; Dckt. 13.
       5                  16. Answering paragraph 16 of the Complaint, Defendant admits only that
                          the pleadings filed with the court are writings that speak for themselves. To
       6                  the extent the allegations contained in Paragraph 16 of the Complaint differ
                          from, are inconsistent with, or improperly characterized the content of these
       7                  writings, those allegations are denied.
       8          Answer ¶ 16; Id.
       9   Defendant-Debtor admits that the Restitution Order and Amended State Court Judgment are what
      10   they state they are and that they state what they state, denying only the allegations in the Amended
      11   Complaint that may misstate the terms in the Restitution Order and the Amended Judgment.
      12          The court considers the Restitution Order and the Amended Judgment on Verdict in the
      13   discussion below.
      14
           July 23, 2020 Final Hearing on
      15   Motion for Summary Judgment
      16          On July 23, 2020, this court conducted the continued hearing on the Motion for Summary
      17   Judgment. In the court’s posted tentative ruling the court addressed a number of issues with counsel
      18   for Defendant-Debtor concerning a number of the opposition grounds asserted. Counsel for
      19   Defendant-Debtor did not advocate for the positions asserted on those issues, but indicated that he
      20   acquiesced to the analysis in the tentative ruling. This court states its final ruling on those
      21   oppositions in this Decision. Counsel for the Defendant-Debtor did elaborate and provide oral
      22   argument for the opposition based on there being no criminal conviction of the Defendant-Debtor
      23   who was a minor at the time of the collision for purposes of 11 U.S.C. § 1328(a).
      24          The court addressed at the hearing issues concerning the Motion, evidence, and applicable
      25   law with counsel for Plaintiff. The court requested/offered Plaintiff several opportunities to file
      26   supplemental pleadings clearly tying together the evidence and legal grounds into a simple (as the
      27   court described it) “see Spot, see Spot run” analysis of the facts not in bona fide material dispute and
      28   the applicable law connecting the dots showing that Plaintiff prevails. After addressing it several

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       1   times, counsel for Plaintiff advised the court that all of the information is in the existing pleadings
       2   and unless the court could explain further what it would want, Plaintiff believes that what has been
       3   filed properly provides the undisputed facts and law for the court to rule on the Motion for Summary
       4   Judgment. With no supplemental pleadings to be filed, the court took the Motion under submission.
       5             The court notes that at the hearing it addressed with both counsel the assertion of Defendant-
       6   Debtor that there was no criminal conviction due to Defendant-Debtor being a minor. When asked
       7   about the evidence in the record and the law relating to such alleged “criminal conviction,” each
       8   counsel’s response was similar: “well, it is understood that . . . .” Neither counsel pointed the court
       9   to evidence of a criminal conviction. Defendant-Debtor’s counsel did direct the court to four (4)
      10   lines in Defendant-Debtor’s twenty-two (22) page Memorandum of Points and Authorities, which
      11   states:
      12             However, adjudicated within Welfare and Institutions Code sections 602 and 203,
                     the actions by the minor “shall not be deemed a conviction of a crime for any
      13             purpose...nor shall...be deemed a criminal proceeding.”
      14   Memorandum of Points and Authorities, p. 5:21-24; Dckt. 32. No quoting of these California
      15   statutory provisions, interpreting case law, or secondary treatise have been provided by the Parties,
      16   nor an explanation as to how these statutes apply. However, being provided with a reference to the
      17   law, this court developed the analysis thereon in this Decision.
      18                     REVIEW OF MOTION, OPPOSITION, AND RESPECTIVE
                                        SUPPORTING PLEADINGS
      19
           Motion for Summary Judgment
      20   and Supporting Pleadings
      21             On May 27, 2020, Plaintiff filed the instant Motion for Summary Judgment pursuant to
      22   Federal Rule of Civil Procedure 56 and Federal Rule of Bankruptcy Procedure 7056. Dckt. 23.
      23   Plaintiff asserts that his claims should be nondischargeable because the findings in support of the
      24   final Amended Judgment on Verdict and the Restitution Order are sufficient to show that some or
      25   all of the debts owed by Defendant-Debtor to Plaintiff are nondischargeable pursuant to 11 U.S.C.
      26   §§ 523(a)(9), 1328(a)(3), and 1328(a)(4).
      27             Specifically, Plaintiff argues that the court found sufficient facts that demonstrate Defendant-
      28   Debtor should be denied discharge of both the debt owed by the Restitution Order in the amount of

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       1   $376,200.00 and the December 9, 2015 nunc pro tunc to October 23, 2105 Amended Judgment on
       2   Verdict in the amount of $2,962,902.77.
       3   Summary of Grounds for Denial of Discharge
       4           Plaintiff’s fourteen-page Motion includes the points and authorities, as well as the legal
       5   argument relating thereto.3 The Motion lays out that Plaintiff was injured in a car accident on
       6   July 22, 2012, when the vehicle driven by Defendant-Debtor, who was seventeen (17) years of age
       7   at the time, struck Plaintiff’s vehicle head-on. Plaintiff asserts that:
       8           A.       Defendant-Debtor was intoxicated at the time of the head-on accident from
                            consuming a large quantity of alcohol;
       9
                   B.       Defendant-Debtor admitted to felony drunk driving;
      10
                   C.       Defendant-Debtor pled no contest in juvenile court to felony driving under the
      11                    influence with injuries in violation of California Vehicle Code § 23153(a);
      12           D.       Defendant-Debtor was ordered to pay restitution in the amount of $376,200.00 in
                            connection with the plea of no contest to the felony;
      13
                   E.       That a civil trial was conducted and an Amended Judgment on the Verdict was
      14                    entered awarding Plaintiff $2,962,902.77 in damages for the injuries caused in the
                            July 22, 2012 head-on collision caused by Defendant-Debtor driving while
      15                    intoxicated.
      16   Motion, p. 2:1-16; Dckt. 23.
      17           Plaintiff has filed documentary evidence and testimony in support of the Motion For
      18   Summary Judgment consisting of the following:
      19
                   3
      20             Local Bankruptcy Rule 9004-2(c) and Rule 9014-1(d)(1) and (d)(4) provides that the motion,
           points and authorities, each declaration, and the exhibits (which may be combined into one exhibit
      21   document to be filed) shall be filed as separate documents, with the exception that if a combined motion
           and points and authorities is six pages or less in length, it can be combined into one document (a
      22   “mothorities”). These Local Rules recognize that a simple combined motion and points and authorities
           can be properly filed to simplify the process, but for more complex pleadings, intertwining grounds stated
      23   with particularity (as required by Federal Rule of Civil Procedure 7(b) and Federal Rules of Bankruptcy
      24   Procedure 7007 and 9013) with citations, quotations, legal arguments, conjecture, and speculation can
           often create a confusing mess.
      25
                   Here, Plaintiff self-excepted himself from these Local Rules, filing a fourteen (14) page
      26   mothorities. Dckt. 23. Though more than double in length permitted by the Local Bankruptcy Rules,
           after considering the organization of the pleading, the twenty-two (22) page Memorandum in Opposition
      27   filed (Dckt. 32), the arguments presented, and oral argument conducted, the court waives the mothorities
           page limitation for this one motion, concluding that such is in the best interests of each of the two parties.
      28

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       1          A.       Declaration of Plaintiff; Dckt. 25.
       2          B.       The following Exhibits as documentary evidence:
       3                  1.      Exhibit A - Restitution Order in the amount of $376,200.00. Dckt. 27 at 3.
                                  This is the same Restitution Order that is attached as Exhibit A to the
       4                          Amended Complaint.
       5                  2.      Exhibit B - Superior Court, Juvenile, Victim Restitution Notice addressed to
                                  Plaintiff-Debtor stating that $376,200.00 in restitution has been ordered to be
       6                          paid by the Defendant-Debtor and Defendant-Debtor’s mother. Id. at 10.
       7                  3.      Exhibit C - County of Sacramento Probation Department Statement of Loss
                                  Form that is completed and signed by the Plaintiff. Id. at 11.
       8
                          4.      Exhibit D - the Amended Judgment on Verdict for $2,962,902.77. Id. at 12.
       9                          This is the same Amended Judgment on Verdict that is attached as Exhibit B
                                  to the Amended Complaint.
      10
                          5.      Exhibit E - Plaintiff’s Requests for Admissions in the State Court Action. Id.
      11                          at 16.
      12                  6.      Defendant[-Debtor]’s Responses to the Requests for Admissions in the State
                                  Court Action. Id. at 22.
      13
      14          The Declaration of Plaintiff includes his identification of the Restitution Order and the
      15   Amended Judgment on Verdict that he received in the Juvenile Court and the State Court Action
      16   proceedings. Declaration, ¶¶ 4, 10; Dckt. 25. Plaintiff provides little, if any, testimony based on
      17   his personal knowledge, but substantially says what he hears the Restitution Order and Amended
      18   Judgment on Verdict say when he reads them. Declaration ¶¶ 4, 5, 6, 7, 8, 9; Id.
      19          Plaintiff then identifies the Probation Statement of Loss form filed as Exhibit C, testifying
      20   that he completed it. Declaration, ¶ 8; Id.
      21          In Paragraph 11 of the Declaration, Plaintiff attempts to identify the Requests for Admission
      22   and the Defendant-Debtor’s Responses that were made in the State Court Action. Nothing in the
      23   Declaration indicates how Plaintiff has any personal knowledge concerning the Requests for
      24   Admission that were prepared by or the Defendant-Debtor’s Responses that were or received by
      25   Plaintiff’s attorneys in the State Court Action.
      26          Defendant-Debtor raised evidentiary objections under both the Federal Rules of Evidence
      27   and the California Evidence Code (without offering a basis for the California Evidence Code
      28   controlling in federal court). The objections were stated to be hearsay objections to all of Plaintiff’s

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       1   Exhibits. In response, Plaintiff filed the Declaration of Glenn Guenard, Esq., the attorney for
       2   Plaintiff in the State Court Action. Declaration, Dckt. 36. Mr. Guenard testifies that he propounded
       3   the Requests for Admissions, Exhibit E, and that a copy of the Responses made by Defendant-
       4   Debtor (which necessarily would be returned to the attorney who propounds the Requests for
       5   Admission) are Exhibit F. While not responsive to a “hearsay objection,” it does address any issue
       6   of authentication of Exhibits E and F, which Defendant-Debtor’s counsel stated that he really meant
       7   to make in stating the hearsay objections. Declaration, ¶¶ 4, 5; Dckt. 36. Mr. Guenard also
       8   identifies Exhibit D as the Amended Judgment on Verdict that Plaintiff was awarded in the State
       9   Court Action for which Mr. Guenard was Plaintiff’s State Court attorney.
      10          The court overrules the “hearsay” objections made by Defendant-Debtor, as well as the
      11   “authentication” clarified objections at the hearing. Plaintiff has sufficiently authenticated these
      12   documents.
      13          Additionally, Defendant-Debtor admitted that the Restitution Order and the Amended
      14   Judgment on Verdict were such that were awarded Plaintiff against Defendant-Debtor in the State
      15   Court. The Defendant-Debtor’s only “denial” with respect to the Restitution Order and Amended
      16   Judgment on Verdict were to statements about them by Plaintiff which Defendant-Debtor deemed
      17   inaccurate. Defendant-Debtor specifically admitted that the Restitution Order and the Amended
      18   Judgment on Verdict “are writings that speak for themselves. . . .” Answer ¶¶ 9, 14, 16, 17, and 18;
      19   Dckt. 13.
      20          With the reply documents, Plaintiff filed a 42-page transcript as Exhibit G. Dckt. 37. This
      21   is stated to be as a “reply” to Defendant-Debtor’s assertion that Plaintiff failed to present evidence
      22   in support of the Motion. This Exhibit G is not offered as a reply to new evidence submitted in
      23   opposition to the Motion, but appears to merely be evidence that would have been included with the
      24   evidence when the Motion was filed with the court. As such, the court does not consider Exhibit G
      25   in ruling on Plaintiff’s Motion for Summary Judgment as it is not in “reply” to any evidence
      26   presented by Defendant-Debtor.
      27   ///
      28   ///

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       1   Statutory Grounds Asserted for the Restitution Order
           and Amended Judgment Being Nondischargeable
       2
       3          Plaintiff asserts that the $376,200.00 Restitution Order is nondischargeable pursuant to
       4   11 U.S.C. § 1328(a)(3) and (a)(4), which provide:
       5          § 1328. Discharge
       6                  (a) Subject to subsection (d), . . ., the court shall grant the debtor a discharge
                          of all debts provided for by the plan or disallowed under section 502 of this
       7                  title, except any debt—
                          ...
       8
                          (3) for restitution, or a criminal fine, included in a sentence on the debtor’s
       9                  conviction of a crime; or
      10                  (4) for restitution, or damages, awarded in a civil action against the debtor as
                          a result of willful or malicious injury by the debtor that caused personal
      11                  injury to an individual or the death of an individual.
      12          Plaintiff asserts that the $2,962,902.77 Amended Judgment on Verdict is nondischargeable
      13   pursuant to 11 U.S.C. § 1328(a)(4) (stated above) and 11 U.S.C. § 523(a)(9), which provides:
      14          § 523. Exceptions to discharge
      15                  (a) A discharge under section 727, 1141, 1192, 1228(a), 1228(b), or 1328(b)
                          of this title does not discharge an individual debtor from any debt—
      16                  ...
                          (9) for death or personal injury caused by the debtor’s operation of a motor
      17                  vehicle, vessel, or aircraft if such operation was unlawful because the debtor
                          was intoxicated from using alcohol, a drug, or another substance; . . . .
      18
           Defendant-Debtor’s Opposition
      19   and Supporting Pleadings
      20          The Defendant-Debtor’s Opposition to the Motion is stated in the Memorandum in Support
      21   of Opposition to Motion for Summary Judgment. Dckt. 32. In the twenty-two (22) pages of
      22   opposition, Defendant-Debtor asserts several grounds by which not only should the Motion be
      23   denied, but asserts that Plaintiff is not entitled to any relief in this Adversary Proceeding.
      24          Defendant-Debtor elected not to provide any declarations testifying to any facts.
      25          Pursuant to Federal Rule of Evidence 201, Defendant-Debtor has filed a Request for Judicial
      26   Notice (which is one hundred fifty-six (156) pages in length) of the following:
      27          A.      Exhibit 1 - Lisa Pashanee’s (Co-Defendant in the State Court Action) Voluntary
                          Chapter 7 Bankruptcy Petition. Dckt. 30 at 4.
      28   ///

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       1           B.      Exhibit 2 - Defendant-Debtor’s Voluntary Chapter 13 Bankruptcy Petition,
                           Schedules, Statement of Financial Affairs, and related documents. Id. at 51. 4
       2
                   C.      Exhibit 3 - Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors for
       3                   Defendant-Debtor’s bankruptcy. Id. at 92.
                   D.      Exhibit 4 - Plaintiff’s Motion for Relief From the Stay in Defendant-Debtor’s
       4                   bankruptcy case. Id. at 95.
       5           E.      Exhibit 5 - Plaintiff’s Motion to Dismiss Defendant-Debtor’s bankruptcy case. Id.
                           at 100.
       6
                   F.      Exhibit 6 - Civil Minutes for hearing on Plaintiff’s Motion For Relief From the Stay.
       7                   Id. at 104.
       8           G.      Exhibit 7 - Civil Minutes for hearing on Plaintiff’s Motion to Dismiss Defendant-
                           Debtor’s bankruptcy case. Id. at 107.
       9
                   H.      Exhibit 8 - Order Denying Motion to Dismiss Defendant-Debtor’s bankruptcy case.
      10                   Id. at 110.
      11           I.      Exhibit 9 - Order granting Plaintiff’s Motion for Relief From the Automatic Stay to
                           prosecute the State Court Action. Id. at 112.
      12
                   J.      Exhibit 10 - Order Confirming Defendant-Debtor’s Chapter 13 Plan. Id. at 114.
      13
                   K.      Exhibit 11 - Notice to Debtor of Completed Plan Payments and of Obligation to File
      14                   Documents. Id. at 117.
      15           L.      Exhibit 12 - Notice of Filing Trustee’s Final Report and Account and of Order Fixing
                           Deadline for Objecting Thereto. Id. at 125.
      16
                   M.      Exhibit 13 - Complaint to Determine Dischargeability (the original complaint filed
      17                   in this Adversary Proceeding). Id. at 127.
      18           N.      Exhibit 14 - Plaintiff’s Amended Proof of Claim No.1-2. Id. at 145.
      19           O.      Exhibit 15 - Plaintiff’s Amended Proof of Claim No. 1-3. Id. at 149.
      20   Dckt. 30.
      21           Defendant-Debtor asserts several different legal and factual theories why either Defendant-
      22   Debtor prevails on all claims, or why there is a bona fide dispute concerning material facts that
      23   precludes the court from granting summary judgment at this time.
      24
      25           4
                      Defendant-Debtor asks the court to take notice of his having filed bankruptcy case 14-30222;
      26   the very same bankruptcy case that Defendant-Debtor denied filing in paragraph 1 of his Answer (which
           denials are subject to the certifications arising under Federal Rule of Bankruptcy Procedure 9011). The
      27   court is placed in a credibility dilemma of whether Defendant-Debtor’s denial of filing the bankruptcy
           case is true or whether Defendant-Debtor’s request for the court to take notice of Exhibit 2 indicating that
      28   Defendant-Debtor filed bankruptcy is actually true.

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       1          Defendant-Debtor begins with the assertion that California Welfare and Institutions Code
       2   §§ 602 and 204 precludes there from being any “criminal conviction” of the Defendant-Debtor
       3   because he was a 17 year old minor. Thus, there can be no restitution ordered as part of a criminal
       4   conviction. (While long on federal law for juvenile proceedings outside of California, the
       5   Defendant-Debtor’s opposition is devoid of any citations to California criminal law on the point.)
       6          Defendant-Debtor’s second knock-out blow is asserted to be that the Complaint in this
       7   Adversary Proceeding was filed years after the deadline for filing actions on nondischargeable
       8   claims as provided for in 11 U.S.C. § 523(c) and Federal Rule of Bankruptcy Procedure 4007(c)
       9   expired.
      10          If Plaintiff is able to clear those hurdles, Defendant-Debtor states that there is a triable issue
      11   of fact for this federal court as to whether Defendant-Debtor was legally intoxicated at the time the
      12   vehicle he was driving crashed head-on into Plaintiff’s vehicle. Defendant-Debtor appears to argue
      13   that notwithstanding any final non-bankruptcy court judgments or order, the bankruptcy judge is to
      14   conduct a trial de novo on whether Defendant-Debtor was legally intoxicated at the time of the
      15   accident. This argument is premised in part on Defendant-Debtor’s reading of Ninth Circuit law as
      16   requiring that any non-bankruptcy court judgment must be entered prior to the commencement of
      17   the bankruptcy case for Plaintiff to seek a determination that damages for his injuries are
      18   nondischargeable. The Ninth Circuit authority cited by Defendant-Debtor is the single judge dissent
      19   in Stackhouse v. Hudson (In re Hudson), 859 F.2d 1418, 1419 (9th Cir. 1988) (dis. opn. of
      20   Wiggins, J.).
      21          Defendant-Debtor asserts that even if the court considers Defendant-Debtor’s admissions as
      22   to consuming alcohol within one hour of the accident, “there is no evidence that the accident was
      23   not purely caused by negligent, inexperienced driving by a minor, as the alcohol had not had time
      24   to metabolized before the accident occurred.” Memorandum, p. 13:5-9; Dckt. 32.
      25                           REVIEW OF SUMMARY JUDGMENT LAW
      26          In an adversary proceeding, summary judgment is proper when “[t]he movant shows that
      27   there is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter
      28   of law.” Fed. R. Civ. P. 56(a), incorporated by Fed. R. Bankr. P. 7056. The key inquiry in a motion

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       1   for summary judgment is whether a genuine issue of material fact remains for trial. Fed. R. Civ. P.
       2   56(c), incorporated by Fed. R. Bankr. P. 7056; Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
       3   248–50 (1986); 11 JAMES WM. MOORE ET AL., MOORE'S FEDERAL PRACTICE
       4   § 56.11[1][b] (3d ed. 2000). “[A dispute] is ‘genuine’ only if there is a sufficient evidentiary basis
       5   on which a reasonable fact finder could find for the nonmoving party, and a dispute [over a fact] is
       6   ‘material’ only if it could affect the outcome of the suit under the governing law.” Barboza v. New
       7   Form, Inc. (In re Barboza ), 545 F.3d 702, 707 (9th Cir. 2008), citing Anderson v. Liberty Lobby,
       8   Inc., 477 U.S. at 248 (1986).
       9          The party moving for summary judgment bears the burden of showing the absence of a
      10   genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). To support
      11   the assertion that a fact cannot be genuinely disputed, the moving party must “cit[e] to particular
      12   parts of materials in the record, including depositions, documents, electronically stored information,
      13   affidavits or declarations, stipulations ..., admissions, interrogatory answers, or other materials.”
      14   Fed. R. Civ. P. 56(c)(1)(A), incorporated by Fed. R. Bankr. P. 7056.
      15          In response to a sufficiently supported motion for summary judgment, the burden shifts to
      16   the nonmoving party to set forth specific facts showing that there is a genuine dispute for trial.
      17   Barboza, 545 F. 3d at 707, citing Henderson v. City of Simi Valley, 305 F.3d 1052, 1055–56 (9th
      18   Cir. 2002). The nonmoving party cannot rely on allegations or denials in the pleadings but must
      19   produce specific evidence, through affidavits or admissible discovery materials, to show that a
      20   dispute exists. Id. (citing Bhan v. NME Hosps., Inc., 929 F.2d 1404, 1409 (9th Cir. 1991)). The
      21   nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
      22   material facts.” Matsushita Electric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
      23          In ruling on a summary judgment motion, the court must view all of the evidence in the light
      24   most favorable to the nonmoving party. Barboza, 545 F.3d at 707 (citing County. of Tuolumne v.
      25   Sonora Cmty. Hosp., 236 F.3d 1148, 1154 (9th Cir. 2001)). The court “generally cannot grant
      26   summary judgment based on its assessment of the credibility of the evidence presented.” Agosto
      27   v. INS, 436 U.S. 748, 756 (1978). “[A]t the summary judgment stage [,] the judge's function is not
      28   himself to weigh the evidence and determine the truth of the matter[,] but to determine whether there

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       1   is a genuine issue for trial.” Anderson, 477 U.S. at 249.
       2                                         DISCUSSION AND RULING
       3   Defendant-Debtor’s Assertion That Plaintiff Must Be
           Denied Relief Because Filing of the Complaint is Not Timely and
       4   Relief is Barred is Not Correct
       5           The court begins with Defendant-Debtor’s assertion that since the Complaint in this
       6   Adversary Proceeding was filed on February 7, 2020, it is untimely. It is asserted that the deadline
       7   for filing complaints for determination of nondischargeability of debts in connection with
       8   Defendant-Debtor’s bankruptcy case expired on January 20, 2015. 5 Therefore, Defendant-Debtor
       9   wins and the legal match is over.
      10           Unfortunately, the law is not consistent with this assertion. Defendant-Debtor’s punch not
      11   only misses the mark, but it is so clearly not “warranted by existing law or by a nonfrivolous
      12   argument for the extension, modification, or reversal of existing law or the establishment of new
      13   law”6 that it comes around and hits the Defendant-Debtor on his own chin. Given the clear law that
      14   applies, it is difficult to see how this assertion “[i]s not being presented for any improper purpose,
      15   such as to harass or to cause unnecessary delay or needless increase in the cost of litigation.” 7
      16           Defendant-Debtor directs the court to read 11 U.S.C. § 523(c)(1) to clearly show that the
      17   Complaint in this Adversary Proceeding is not timely. When one reads 11 U.S.C. § 523(c)(1), one
      18   sees that it states a very limited grounds for nondischargeability of debt for which there is a deadline
      19   for seeking relief from the court:
      20          (c)
                  (1) Except as provided in subsection (a)(3)(B) of this section, the debtor shall be
      21          discharged from a debt of a kind specified in paragraph (2), (4), or (6) of
                  subsection (a) of this section, unless, on request of the creditor to whom such debt
      22          is owed, and after notice and a hearing, the court determines such debt to be
                  excepted from discharge under paragraph (2), (4), or (6), as the case may be, of
      23          subsection (a) of this section.
      24   11 U.S.C. § 523(c) [emphasis added].
      25
                   5
      26                14-30222; Notice of Chapter 13 Bankruptcy Case, Meeting of Creditor and Deadlines, Dckt. 9.

      27           6
                       Fed. R. Bankr. P. 9011.

      28           7
                       Id., (b)(1).

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       1           11 U.S.C. § 523(c)(1) relates only to debts excepted from discharge pursuant to 11 U.S.C.
       2   § 523(a)(2) for fraud; 11 U.S.C. § 523(a)(4) for defalcation in a fiduciary capacity, embezzlement,
       3   or larceny; or 11 U.S.C. § 563(a)(6) for willful and malicious injury by the debtor to another entity
       4   or to the property of another entity. As is obvious from the face of the Amended (and Original)
       5   Complaint, relief is not sought pursuant to any of these specified provisions and thus 11 U.S.C.
       6   § 523(c)(1) is not applicable to the First Amended Complaint.
       7           Moving to Federal Rule of Bankruptcy Procedure 4007, the U.S. Supreme Court has
       8   expressly provided for both the claims for nondischargeabilty on the grounds listed in 11 U.S.C.
       9   § 523(c) and then for all other claims that a debt is nondischargeable, which Rule states in pertinent
      10   part.
      11           Rule 4007. Determination of Dischargeability of a Debt
                   (a) Persons Entitled To File Complaint. A debtor or any creditor may file a
      12           complaint to obtain a determination of the dischargeability of any debt.
      13           (b) Time for Commencing Proceeding Other Than Under §523(c) of the Code. A
                   complaint other than under §523(c) may be filed at any time. A case may be
      14           reopened without payment of an additional filing fee for the purpose of filing a
                   complaint to obtain a determination under this rule.
      15
      16   Fed. R. Bankr. P. 4007(a) and (b) [emphasis added]. Thus, the rule is that a complaint to determine
      17   the dischargeability of any debt may be filed at any time, except for those grounds as expressly
      18   specified in 11 U.S.C. § 523(c).
      19           As shown by the Bankruptcy Code Section and the Federal Rule of Bankruptcy Procedure
      20   cited by Defendant-Debtor, the claims for nondischargeability pursuant to 11 U.S.C. § 523(a)(9) and
      21   11 U.S.C. § 1328(a)(3) and (a)(4) are not time-barred and this adversary proceeding was timely
      22   commenced by Plaintiff.
      23   Defendant-Debtor’s Assertion That Plaintiff Must Have Obtained
           His Judgment Before the Defendant-Debtor Filed His Bankruptcy Case
      24   is Not Supported by the Existing Ninth Circuit Published Decision
      25           Defendant-Debtor asserts that a triable issue of fact exists because the State Court Judgment
      26   determining almost $3,000,000.00 of damages were suffered by Plaintiff in the accident caused by
      27   Defendant-Debtor was not entered until after the current bankruptcy case was filed. Memorandum,
      28   pp. 10:9-27, 11:1-28, 12:1-25; Dckt. 32. Defendant-Debtor begins this assertion with quoting the

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       1   provisions of 11 U.S.C. § 523(a)(9), stating:
       2           A genuine issue of triable fact exists as to the first cause of action which seeks to
                   prevent discharge of its State Court Judgment pursuant to Title 11 of the United
       3           States Code section 523(a)(9), which prevents discharge of a debt “to any entity, to
                   the extent that such debt arises from a judgment or consent decree entered in
       4           a court of record against the debtor wherein liability was incurred by such debtor
                   as a result of the operation of a motor vehicle while legally intoxicated[.]”
       5
       6   Memorandum, p. 10:18-27; Dckt. 32.
       7           Then, citing to the single judge dissent in Stackhouse v. Hudson (In re Hudson), 859 F.2d
       8   1418, 1419 (9th Cir. 1988) (dis. opn. of Wiggins, J.), Defendant-Debtor argues that established
       9   Ninth Circuit law requires there to be a pre-petition non-bankruptcy court judgment if 11 U.S.C.
      10   § 523(a)(9) is to apply to an obligation for damages caused by a debtor from driving a vehicle while
      11   intoxicated:8
      12           Because the lawsuit commenced after the bankruptcy was filed, and the literal
                   wording of the statute holds that failure to commence an underlying civil action
      13           against the debtor prior to the filing of the petition precludes determination that the
                   debt is nondischargeable, a triable issue of fact exists. (In Re Jackson (Bankr. N.D.
      14           Ohio 1987) 77 B.R. 120; Hudson II, id.)
      15   Memorandum, p. 12:19-24; Dckt. 32.9
      16           By citing to the dissent in Stackhouse v. Hudson in advocating his position, Defendant-
      17   Debtor ignores the majority decision in Stackhouse v. Hudson which is the established law in the
      18   Ninth Circuit. Defendant-Debtor “missing,” and not citing to the court, the published majority
      19   decision in Stackhouse v. Hudson, failed to present to the court the controlling Ninth Circuit Court
      20   of Appeal established law which states:
      21           [T]he dispositive issue on appeal is whether 11 U.S.C. § 523(a)(9), requires that a
                   creditor obtain judgment for damages against a debtor prior to the debtor's filing for
      22           bankruptcy as a prerequisite to having declared nondischargeable a debt arising from
                   damages caused by drunk driving. We hold that a prepetition judgment is not
      23           required, and reverse the decision of the BAP.
      24
                   8
      25              By the very nature of being a dissent, the “authority” cited by Defendant-Debtor necessarily is
           not the law established by the majority decision in Hudson. The majority did not adopt the “avoid drunk
      26   driving liability by filing bankruptcy before the state court judge can get the judgment entered” defense
           that Defendant-Debtor advocates.
      27
                   9
                    The reference to “Hudson II” in Defendant-Debtor’s Opposition is a citation to Stackhouse v.
      28   Hudson (In re Hudson), 859 F.2d 1418, 1419 (9th Cir. 1988), and not a subsequent decision.

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       1           ...
                           We think it evident that Congress sought three objectives when it adopted
       2           § 523(a)(9): (1) to deter drunk driving; (2) to ensure that those who caused injury
                   by driving drunk did not escape civil liability through the bankruptcy laws; and
       3           (3) to protect victims of drunk driving. The interpretation of the statute adopted by
                   the BAP [requiring the judgment to be entered prior to the case being filed, and if
       4           not, 11 U.S.C. § 523(a)(9) could never apply] advances none of these goals. . .
       5           [T]he purpose of the non-dischargeability section in general was to remove from the
                   debtor's capacity to discharge certain classes of debts arising from practices Congress
       6           deemed so pernicious that bankruptcy should not be able to insulate the debtor from
                   their payment. . .
       7
                           The leading bankruptcy commentator is in accord. "A creditor who has not
       8           had reasonable time to seek a judgment in state court prior to the debtor's bankruptcy
                   should be granted leave by the bankruptcy court to diligently prosecute his claim in
       9           state court." 3 Collier on Bankruptcy para. 523.18A at 523-135 n.2 (1988).10
                   ...
      10                   Since the enactment of § 523(a)(9), bankruptcy courts have consistently held,
                   and litigants relying on those opinions have assumed, that its language includes
      11           claims against drunk-driver bankrupts reduced to judgment after the commencement
                   of the bankruptcy. We are not inclined to disturb this consistent body of law in which
      12           Congress apparently acquiesces.
      13                  The decisions of BAP and the bankruptcy court [both requiring that the
                   judgement be obtained pre-petition or a creditor could not seek relief pursuant to
      14           11 U.S.C. § 523(a)(9)] are REVERSED. We REMAND for further proceedings
                   consistent with our opinion.
      15
      16   Stackhouse v. Hudson (In re Hudson), 859 F.2d 1418, 1419, 1423- 1424 (9th Cir. 1988).
      17           As with some other parts of the Opposition, the court is hard pressed to see how this
      18   assertion is “warranted by existing law or by a nonfrivolous argument for the extension,
      19   modification, or reversal of existing law or the establishment of new law.” Additionally, how this
      20   assertion “ is not being presented for any improper purpose, such as to harass or to cause
      21   unnecessary delay or needless increase in the cost of litigation.”
      22   Application of the Full Faith and Credit Statute,
           and the Doctrine of Res Judicata and
      23   Related Doctrine of Collateral Estoppel
      24           Defendant-Debtor appears to contend that any plaintiff asserting the right to relief pursuant
      25   to 11 U.S.C. § 523(a)(9) who obtains a post-petition judgment against the debtor in a non-
      26
      27
                   10
                     Which is exactly what happened, with Plaintiff having obtained relief from the stay in
      28   Defendant-Debtor’s bankruptcy case to prosecute to final judgment his claims arising out of the accident.

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       1   bankruptcy court must then prosecute a separate, independent federal action under 11 U.S.C.
       2   § 523(a)(9) and retry each and every legal issue and factual determination. Defendant-Debtor asserts
       3   that failure of the court to require a retrial of the issues if the non-bankruptcy court judgment was
       4   entered post-petition would render the statute, 11 U.S.C. § 523(a)(9), nugatory.
       5            Though Plaintiff does not address the Doctrine of Res Judicata in the Motion or the Reply,
       6   Defendant-Debtor’s assertion runs contrary to basic legal Doctrine of Res Judicata and the sub-
       7   doctrine of Collateral Estoppel. Additionally, it runs afoul of the provisions of 28 U.S.C. § 1738
       8   which create a statutory Full Faith and Credit Act for state court judgments in federal court which
       9   is similar to the Constitutional Full Faith and Credit given that must be given by the court of one
      10   state to a judgment issued by a court of every other state. U.S. Const. Art. IV, Sec. 1.
      11            As stated by the court in Harmon v. Kobrin (In re Harmon), 250 F.3d 1240, 1245 (9th Cir.
      12   2001):
      13
                    Under the Full Faith and Credit Act, 28 U.S.C. § 1738, the preclusive effect of a state
      14            court judgment in a subsequent bankruptcy proceeding is determined by the
                    preclusion law of the state in which the judgment was issued. Gayden v. Nourbakhsh
      15            (In re Nourbakhsh), 67 F.3d 798, 800 (9th Cir. 1995) (citing Marrese v. Am. Acad.
                    of Orthopaedic Surgeons, 470 U.S. 373, 380, 84 L. Ed. 2d 274, 105 S. Ct. 1327
      16            (1985)).
      17   Collateral Estoppel is a variant of the fundamental Res Judicata Doctrine. The Ninth Circuit Court
      18   of Appeals addressed the modern application of this Doctrine in Robertson v. Isomedix, Inc. (In re
      19   International Nutronics), 28 F.3d 965 (9th Cir. 1994). The court considers four factors in
      20   determining whether Res Judicata applies,
      21            (1) whether rights or interests established in the prior judgment would be destroyed
                    or impaired by prosecution of the second action; (2) whether substantially the same
      22            evidence is presented in the two actions; (3) whether the two suits involve
                    infringement of the same right; and (4) whether the two suits arise out of the same
      23            transactional nucleus of facts.
      24   Id. at 970, citing Clark v. Bear Sterns & Co., 966 F.2d 1318, 1320 (9th Cir. 1992).
      25            In describing the five elements for Collateral Estoppel under California law, the Ninth
      26   Circuit Court of Appeals stated,
      27            Under California law, collateral estoppel only applies if certain threshold
                    requirements are met:
      28

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       1           First, the issue sought to be precluded from relitigation must be identical to that
                   decided in a former proceeding. Second, this issue must have been actually litigated
       2           in the former proceeding. Third, it must have been necessarily decided in the former
                   proceeding. Fourth, the decision in the former proceeding must be final and on the
       3           merits. Finally, the party against whom preclusion is sought must be the same as, or
                   in privity with, the party to the former proceeding. Harmon v. Kobrin (In re
       4           Harmon), 250 F.3d 1240, 1245 (9th Cir. 2001).
       5   Cal-Micro, Inc. v. Cantrell, 329 F.3d 1119, 1123 (9th Cir. 2003). The party asserting collateral
       6   estoppel bears the burden of establishing these requirements. In re Harmon, 250 F.3d 1240, 1245
       7   (9th Cir. 2001). Id. at 1245. The application of collateral estoppel is greater than merely the
       8   convenience of the court, but is required of the federal courts to respect and give effect to state court
       9   judgments.
      10           The California Supreme Court discussed the Doctrine of Collateral Estoppel in Murray v.
      11   Alaska Airlines, Inc. , 50 Cal. 4th 860, 879 (2010), stating:
      12           We find that the public policies underlying the doctrine of collateral estoppel will
                   best be served by applying the doctrine to the particular factual setting of this case.
      13           Those policies include conserving judicial resources and promoting judicial economy
                   by minimizing repetitive litigation, preventing inconsistent judgments which
      14           undermine the integrity of the judicial system, and avoiding the harassment of
                   parties through repeated litigation. (Allen v. McCurry (1980) 449 U.S. 90, 94;
      15           Montana v. United States (1979) 440 U.S. 147, 153–154; Sims, supra, 32 Cal.3d at
                   pp. 488–489; Syufy Enterprises v. City of Oakland (2002) 104 Cal.App.4th 869,
      16           878.)
      17           The party “asserting collateral estoppel carries the burden of proving a record sufficient to
      18   reveal the controlling facts and pinpoint the exact issues litigated in the prior action.” In re Lambert,
      19   233 Fed. Appx. 598, 599 (9th Cir. 2007). If the Court has a reasonable doubt as to what was actually
      20   decided by the prior judgment, it will refuse to apply preclusive effect. Id.
      21   Prior Relief From the Automatic Stay Granted
           to Allow Prosecution of the State Court Action to Final Judgment
      22   For Claim Based on Defendant-Debtor Driving While Intoxicated
      23           On December 9, 2014, the Hon. Christopher M. Klein (the judge to whom the Defendant-
      24   Debtor’s bankruptcy case and this Adversary Proceeding were previously assigned) entered an order
      25   modifying the automatic stay:
      26           [t]o allow David Schoonover [Plaintiff] and Thuy Bich Van, and its agents,
                   representatives and successors, to pursue the Sacramento Superior Court Case action
      27           (Case No. 34-2012-00131228) to determine the amount of the claim and/or to pursue
                   collection of the liquidated claim against Debtor’s third-party insurance carrier.
      28

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       1   14-30222; Order, Dckt. 49.
       2           The findings of fact and conclusions of law of the court in granting relief from the stay
       3   include the following stated in the Civil Minutes from the December 9, 2014 hearing on the motion
       4   for relief from the stay:
       5                  From the pleadings, the court concludes that Creditors are requesting relief
                   from the stay to liquidate damages and liability for Personal Injuries received in an
       6           auto accident in which Debtor has admitted he was driving under the influence
                   of alcohol . . . . Dkt. 26.
       7
                           The court has no opposition to Creditor pursuing the claim to determine
       8           the amount of the claim. The court also does not oppose granting relief from stay
                   for Creditor to pursue collection of the claim against Debtors insurance carrier,
       9           if any. However, the court does not find cause to grant relief from the stay to permit
                   Creditors to pursue any liquidated claim resulting from the state court case against
      10           Debtor personally. The court shall issue a minute order terminating and vacating the
                   automatic stay to allow Creditors, and their agents, representatives and successors,
      11           to pursue the subject state court action (Case No. 34-2012-00131228) to determine
                   the amount of the claim and/or to pursue collection of the liquidated claim against
      12           Debtors third-party insurance carrier.
      13   Id.; Civil Minutes, Dckt. 44 (emphasis added).
      14           The bankruptcy court modified the automatic stay to expressly have the issue of damages
      15   asserted to have been caused by Defendant-Debtor’s driving of a vehicle while intoxicated
      16   adjudicated to final judgment in State Court. That Amended Judgment on Verdict having been
      17   obtained, it is now presented to this court for the application of the Full Faith and Credit statute, as
      18   well as the Doctrines of Res Judicata and Collateral Estoppel applied.
      19   Defendant-Debtor as a Ward of the Court and
           No Restitution Included in a Criminal Conviction
      20   For Application of 11 U.S.C. § 1328(a)(3)
      21           Defendant-Debtor has opaquely argued, without any clear analysis of California law or case
      22   law precedent, that Defendant-Debtor was a ward of the court, being only 17 years of age, and that
      23   precluded any criminal conviction. Plaintiff countered only with “it is understood” that such would
      24   be a criminal conviction. The Parties leave it to the court to uncover the legal truth.
      25           Defendant-Debtor does direct the court to California Welfare and Institutions Code § 602
      26   and § 203. The court begins with Welfare and Institutions Code § 602(a), which provides:
      27           § 602. Persons subject to jurisdiction of juvenile court and to adjudication as ward
                   for violation of law or ordinance defining crime
      28

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       1             (a) Except as provided in Section 707, any minor who is between 12 years of age
                     and 17 years of age, inclusive, when he or she violates any law of this state or of
       2             the United States or any ordinance of any city or county of this state defining crime
                     other than an ordinance establishing a curfew based solely on age, is within the
       3             jurisdiction of the juvenile court, which may adjudge the minor to be a ward of the
                     court.
       4
       5   Thus, on its face, it appears that the “ticket” to getting into Juvenile Court is being a minor who
       6   “violates any law of this state [California].”
       7             Moving to California Welfare and Institutions Code § 203 referenced by the Defendant-
       8   Debtor, it provides (emphasis added):
       9
                     § 203. Order adjudging minor ward of court as not constituting conviction;
      10             Noncriminal nature of proceeding
      11             An order adjudging a minor to be a ward of the juvenile court shall not be
                     deemed a conviction of a crime for any purpose, nor shall a proceeding in the
      12             juvenile court be deemed a criminal proceeding.
      13             In another section of the Welfare and Institutions Code, it provides that restitution may be
      14   ordered to be paid by a minor when the court finds the minor to be a person described in Welfare
      15   and Institutions Code § 602 (one who has violated a law that defines a crime). Welfare & Inst.
      16   § 730.6(b), (c), (h). A review of the annotations to Welfare and Institutions Section 203 discloses
      17   decades of cases stating that as a matter of California law, proceedings in a juvenile court to declare
      18   a minor the ward of a court are not criminal proceedings, but civil in nature. These cases include:
      19         Leroy T. v. Workmen's Comp. Appeals Bd., 12 Cal. 3d 434, 438 (1974) [emphasis added].
      20             This philosophy is reflected, in part, in the terminology employed in the juvenile
                     system. Welfare and Institutions Code section 503 [predecessor to current § 203]
      21             commands that "[an] order adjudging a minor to be a ward of the juvenile court
                     shall not be deemed a conviction of a crime for any purpose, nor shall a
      22             proceeding in the juvenile court be deemed a criminal proceeding." California
                     decisions reflect the view that juvenile court proceedings are in the nature of
      23             guardianship proceedings (In re Bacon (1966) 240 Cal.App.2d 34, 45; In re Schubert
                     (1957) 153 Cal. App.2d 138, 141 and are concerned primarily with the welfare of the
      24             juvenile. (In re Florance (1956) 47 Cal.2d 25, 28; In re Colar (1970) 9 Cal.App.3d
                     613, 615.) They also instruct that adjudications of juvenile wrongdoing are not
      25             "criminal convictions" (In re Magnuson (1952) 110 Cal.App.2d 73, 74) and that the
                     commitment of a ward to the Youth Authority is not a "sentence." (People v. Wilkins
      26             (1967) 251 Cal.App.2d 823, 829.)
      27         In re Gabriel T., 3 Cal. App. 5th 952, 961-962, 207 (5th DCA 2016) [emphasis added].
      28             “Although confinement, fines, and fees imposed upon a ward of the juvenile court

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       1           may be penal in nature and premised upon a finding of criminal misconduct, juvenile
                   adjudications of wardship are not criminal convictions. [Citations.]” (Egar v.
       2           Superior Court (2004) 120 Cal.App.4th 1306, 1308.) Pursuant to Welfare and
                   Institutions Code section 203, “[a]n order adjudging a minor to be a ward of the
       3           juvenile court shall not be deemed a conviction of a crime for any purpose, nor shall
                   a proceeding in the juvenile court be deemed a criminal proceeding.”
       4           ...
                   Here, the state court construction penalty under Government Code section 70372,
       5           subdivision (a)(1), is collected for criminal offenses. Under Welfare and
                   Institutions Code section 203, however, juvenile adjudications of wardship are
       6           deemed neither criminal convictions nor criminal proceedings. (In re Derrick B.
                   (2006) 39 Cal.4th 535, 540; People v. Dotson (1956) 46 Cal.2d 891, 895 [juvenile
       7           proceedings are similar to guardianship proceedings]; Rinaker v. Superior Court
                   (1998) 62 Cal.App.4th 155, 164 [juvenile proceeding is a civil action].) Under the
       8           plain language of these statutes, the penalty pursuant to Government Code section
                   70372, subdivision (a)(1), is inapplicable in an adjudication of wardship. At
       9           resentencing, the juvenile court shall not impose this penalty.
      10     In re Magnuson, 110 Cal. App. 2d 73, 74, 242 P.2d 362, 364, (3rd DCA 1952) [emphasis added].
      11           An order adjudging a person to be a ward of the juvenile court is not a
                   conviction of crime ( Welf. & Inst. Code, § 736), and proceedings to have such a
      12           wardship declared are not criminal proceedings.
      13           Plaintiff has offered no legal authority that Juvenile Court proceedings result in criminal
      14   “convictions.”
      15   Review of the Restitution Order
      16           Plaintiff provides as Exhibit A, a copy of the Restitution Order by which Defendant-Debtor
      17   was ordered in In The Matter of Cameron Elford, Minor, California Superior Court, County of
      18   Sacramento, No. 134843, to pay $376,200.00 in restitution to Plaintiff. This order is enforced as a
      19   final judgment of a Court for the State of California.11 The findings and conclusions of that court
      20   to which Collateral Estoppel applies include the following:
      21           A.       The restitution relates to the “grievous injuries [Plaintiff suffered] when he was
                            involved in a head-on traffic accident with [Defendant-Debtor], who was then 17
      22                    years old.” Exhibit A, Restitution Order, p. 1:13-25; Dckt. 23.
      23           B.       On August 30 2012, the Placer County District Attorney filed a Juvenile Wardship
                            Petition pursuant to California Welfare and Institutions Code § 602 charging
      24                    Defendant-Debtor with felony drunk driving in connection with the accident. Id.,
                            p. 1:15-18.
      25
                   C.       In Footnote 1 to the Restitution Order, that court states:
      26
      27
                   11
                       The Restitution Order is enforced in the same manner as a civil judgment. Welf. and Inst.
      28   § 730.6(i), (r).

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       1                          According to an eyewitness the minor's vehicle was traveling
                                  southbound on Roseville Road at approximately 45-50 miles per hour
       2                          when it crossed the centerline and collided with [Plaintiff’s], which
                                  was traveling at approximately the same rate of speed. Following the
       3                          accident, the minor [Defendant-Debtor] admitted to consuming
                                  two shots of hard liquor and seven beers in a one hour period
       4                          immediately prior to the accident. A passenger and drinking
                                  companion estimated that the number of beers consumed by
       5                          [Defendant-Debtor] was over twice that amount. The minor was
                                  charged with a felony violation of Vehicle Code Section 23153(a)
       6                          and an enhancement for great bodily injury pursuant to Penal Code
                                  Section 12022(a).
       7
                          Id., p. 1, FN. 1 [emphasis added].
       8
                  D.      “On June 18, 2013, the minor admitted the allegations.” Id., p. 1:18-19.
       9
                  E.      Defendant-Debtor was committed to serve 180 days in Juvenile Hall, with 90 days
      10                  suspended pending completing conditions of probation. Id., pp. 1:20-22, 2:1-3.
      11          F.      In November 2013, Plaintiff provided a loss statement seeking $376,290.00 in
                          restitution - consisting of $280,059.00 in medical expenses and $96,231.00 in lost
      12                  income. Id., p. 2:8-11.
      13          G.      The juvenile court may impose restitution under Welfare and Institutions § 730.6 for
                          losses that are incurred “as a result of” the underlying offense - here felony drunk
      14                  driving - underlying the offense for which the minor was adjudicated a ward of the
                          court. Id. p. 7:1-3.
      15
                  H.      The Superior Court’s judge’s now final Restitution Order was filed in In the Matter
      16                  of Cameron Elford on April 25, 2012.
      17          The Superior Court has made a series of express findings concerning the Restitution Order,
      18   the conduct of the Defendant-Debtor, and the computation of the restitution amount. The Superior
      19   Court Judge also makes it clear that the restitution is ordered based on the felony drunk driving by
      20   Defendant-Debtor for which he was adjudged a ward of the court - which is not a criminal
      21   conviction.
      22          This court identified a Tenth Circuit Court of Appeals decision, Colo. Judicial Dep't v.
      23   Sweeney (In re Sweeney), 492 F.3d 1189 (10th Cir. 2007), which addresses whether the adjudication
      24   of someone as a juvenile delinquent or a ward of the would constitute a “criminal conviction” for
      25   purposes of 11 U.S.C. § 1328(a)(3). The Tenth Circuit Court of Appeals concluded that it did not
      26   constitute a criminal conviction, stating:
      27                 Under federal law, juvenile delinquency is defined as "the violation of a law
                  of the United States committed by a person prior to his eighteenth birthday which
      28          would have been a crime if committed by an adult." 18 U.S.C. § 5031.We previously

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       1          have stated that this definition means that juvenile delinquency is "an
                  adjudication of status--not a criminal conviction." United States v. Brian N., 900
       2          F.2d 218, 220 (10th Cir. 1990). . .
       3                   Section 1328(a)(3) of the bankruptcy code precludes dischargeability of
                  restitution that was "included in a sentence on the debtor's conviction of a crime."
       4          CJD argues that dictionary definitions of the word "conviction" illustrate a uniform
                  understanding of "crime" such that Mr. Sweeney "was found guilty of" and "was
       5          sentenced for committing the crime of second degree arson." (Aplt.'s Opening Br. at
                  12.) This contention fundamentally mischaracterizes juvenile delinquency law. As
       6          noted above, an adjudication of juvenile delinquency is not equivalent to a
                  conviction precisely because § 5031 punishes "violation[s]" of the law that "would
       7          have been a crime if committed by an adult," 18 U.S.C. § 5031 (emphasis added),
                  with a classification of "status" as opposed to "criminal conviction." Brian N., 900
       8          F.2d at 220.
       9                  We observe that the same holds true under Colorado law, which likewise
                  separates juvenile delinquency from criminal conviction. Under the Colorado
      10          Children's Code, a juvenile delinquent is one who has been adjudicated such after
                  having been found "guilty of a delinquent act." Colo. Rev. Stat. § 19-1-103(71)
      11          (2006); id. § 19-1-103(2); see C.B. v. People, 122 P.3d 1065, 1066 (Colo. Ct. App.
                  2005) ("A delinquency adjudication . . . is a special statutory proceeding that is
      12          noncriminal in nature."). . . Restitution for delinquent acts is not imposed pursuant
                  to the State's criminal code; the criminal code merely controls enforceability. The
      13          federal juvenile delinquency statute makes a similar cross-reference, but that also
                  does not change the provision under which restitution is imposed.
      14          ...
                  Thus, the decision of the Bankruptcy Appellate Panel [concluding that restitution
      15          ordered pursuant to juvenile delinquency proceedings is dischargeable under
                  11 U.S.C. § 1328(a)(3)] is AFFIRMED.
      16
      17   Colo. Judicial Dep't v. Sweeney (In re Sweeney), 492 F.3d 1189, 1191, 1192 (10th Cir. 2007)
      18   [emphasis added].
      19          Defendant-Debtor’s swing at the assertion that an adjudication of a minor as a ward of the
      20   court has landed home, with no counter-punch of authorities presented by Plaintiff.
      21          The Restitution Order was not for “restitution. . .included in a sentence on the debtor’s
      22   conviction of a crime” under California law (the jurisdiction imposing the restitution liability) as
      23   required by 11 U.S.C. § 1328(a)(3).
      24          Therefore, the court determines that judgment for the Defendant-Debtor denying Plaintiff
      25   relief pursuant to 11 U.S.C. § 1328(a)(3) is proper.
      26
                           NO GENUINE DISPUTE AS TO ANY MATERIAL FACTS
      27                        HAS BEEN PRESENTED BY THE PARTIES
      28          Upon review of the evidence presented to the court, there are not genuine disputes as to any

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       1   material facts. The court is presented with a final Restitution Order and a final Amended Judgment
       2   on Verdict. Plaintiff has also presented the court with the written admissions by Defendant-Debtor
       3   in the State Court Action. Defendant-Debtor’s Opposition is based on the law and, through the
       4   operation of Collateral Estoppel, the final Restitution Order and the final Amended Judgment on
       5   Verdict issued by the State Court.
       6
           Nondischargeability of Debt Based on
       7   11 U.S.C. § 523(a)(9)
       8           Plaintiff asserts that the obligations owing under the Restitution Order and the Amended
       9   Judgment on Verdict are nondischargeable on each of two separate and independent grounds. The
      10   first is 11 U.S.C. § 523(a)(9), which provides that a debt is nondischargeable if it is for damages “for
      11   death or personal injury caused by the debtor's operation of a motor vehicle, vessel, or aircraft if
      12   such operation was unlawful because the debtor was intoxicated from using alcohol, a drug, or
      13   another substance.”
      14           Thus, for a debt to be nondischargeable under section 523(a)(9), it must have arisen from a
      15   death or personal injury and resulted from the debtor’s operation of a motor vehicle, vessel or
      16   aircraft that was unlawful because the debtor was intoxicated from using alcohol, a drug or another
      17   substance. See Armstrong v. Oslin (In re Oslin), 2018 Bankr. LEXIS 168 (Bankr. N.D. Okla.
      18   Jan. 24, 2018) (action against debtor whose solely owned corporation served alcohol to minor who
      19   caused traffic accident injury to plaintiff creditor does not state a claim under 11 U.S.C. § 523(a)(9));
      20   Kinder v. Shade (In re Shade), 2017 Bankr. LEXIS 3524 (Bankr. N.D. Ohio Oct. 4, 2017) (claim
      21   against debtor who permitted another person to drive her vehicle while intoxicated causing injury
      22   to plaintiff is not excepted from discharge by 11 U.S.C. § 523(a)(9)).
      23           The three elements that must be proven under section 523(a)(9) are (1) the existence of a
      24   debt for death or personal injury; (2) caused by operation of a motor vehicle, vessel or aircraft; (3)
      25   being operated unlawfully under state law due to the debtor’s intoxication. In re Clampitt, 499 B.R.
      26   640 (Bankr. E.D. Mo. 2013); In re Pair, 264 B.R. 680 (Bankr. D. Idaho 2001). For the debt to be
      27   nondischargeable, it is not necessary for the debtor to be charged with driving under the influence.
      28   The creditor may establish at trial that the debtor was intoxicated. Watkins v. Fleisch (In re Fleisch),

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       1   543 B.R. 166 (Bankr. M.D. Pa. 2015).
       2            As to this last element, there must be evidence that the Defendant-Debtor was intoxicated
       3   at the time of the accident, not merely that the Defendant-Debtor drank some alcohol (or other
       4   intoxicating substance). In Watkins v. Fleisch (In re Fleisch), 543 B.R. 166, 172 (M.D. Penn. 2015),
       5   the court discussed this intoxication requirement in applying Pennsylvania law:
       6            But mere evidence that a party was drinking alcoholic beverages is not admissible,
                    unless a degree of intoxication is established to show an unfitness to drive. Braun v.
       7            Target Corp. 2009 PA Super 206, 983 A.2d 752, 760 (Pa. Super. 2009). In other
                    words, a plaintiff must offer additional evidence other than the fact that the defendant
       8            had been drinking before being involved in an accident. Chemical evidence as to
                    intoxication, however, is not required. In the absence of breath analysis or blood
       9            alcohol testing, lay testimony may be provided as to the defendant's conduct and
                    appearance. Also, physical evidence of the accident scene may be used to
      10            corroborate allegations of intoxication. Id. at 760-61.
      11            The Fourth Circuit Court of Appeals followed this analysis, stating in Whitson v. Middleton,
      12   898 F.2d 950, 953 (4th Cir. 1990), concluding that the debtor must have been operating the vehicle
      13   while legally intoxicated under the laws of the state in which the injury occurred.
      14            On the issue of intoxication, Plaintiff points the court to the Restitution Order and the
      15   Amended Judgment on Verdict for the findings of the California Superior Court and jury on that
      16   issue.
      17            Additionally, Plaintiff points the court to California Vehicle Code § 23136 which states that
      18   it is unlawful for a person under the age of 21 years to drive a vehicle with a blood-alcohol
      19   concentration of 0.01 percent or greater, as measured by a preliminary alcohol screening test or other
      20   chemical test. Plaintiff also directs the court to California Vehicle Code § 23140 which further
      21   states that it is unlawful for a person under the age of 21 years who has 0.05 percent or more, by
      22   weight, of alcohol in his or her blood to drive a vehicle.
      23            Plaintiff then directs the court to the Response for Admissions in which Defendant-Debtor
      24   admitted that he “blew” a 0.082% and 0.078% blood alcohol content from the Breathalyzer test after
      25   the collision with Plaintiff’s vehicle. Plaintiff then states that since this is greater than the 0.05%
      26   permitted under Vehicle Code § 23140, Defendant-Debtor “by any measure, [was] operating a motor
      27   vehicle unlawfully under California law due to intoxication.” Motion, p. 10:24-26; Dckt. 23.
      28            In asserting these blood alcohol percentages for a minor operating a vehicle dictate that

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       1   Defendant-Debtor was “intoxicated,” Plaintiff does not provide the court with any statutory or case
       2   law authority that California Vehicle Code § 23136 and § 23140 makes a legal determination of
       3   “intoxication.” Rather, these statutes set a statutory blood alcohol level, without regard to whether
       4   the minor was intoxicated, making driving a vehicle by a minor illegal. This difference is shown
       5   in California Vehicle Code § 23152 which has two statutory provisions for making illegal the
       6   driving of the vehicle.
       7            In § 23152(a) it is “unlawful for a person who is under the influence of any alcoholic
       8   beverage to drive a vehicle.” This requires a determination that the:
       9
                    intoxicating liquor has so far affected the nervous system, brain, or muscles of
      10            the driver of an automobile as to impair, to an appreciable degree, his ability to
                    operate his car in the manner that an ordinarily prudent and cautious man, in
      11            the full possession of his faculties, using reasonable care, would operate or drive a
                    similar vehicle under like conditions, then such driver is 'under the influence of
      12            intoxicating liquor' within the meaning of the statute."
      13   People v. Ekstromer, 71 Cal. App. 239 (1st DCA 1925), quoting People v. Dingle, 56 Cal.App. 445
      14   (2nd DCA 1922) [emphasis added]. See also, People v. Cady, 7 Cal. App. 5th 134, 142 (5th DCA
      15   2016).
      16            This legal standard for a person to be in violation of California Vehicle Code § 23152(a) is
      17   consistent with the “due to intoxication” requirement of 11 U.S.C. § 523(a)(9). The statutory
      18   unlawful blood alcohol level amounts in Vehicle Code § 23136, § 23140, and § 23152 are statutory
      19   standards for the unlawful operation of a vehicle without regard to whether the person is intoxicated.
      20            Plaintiff has not presented the court with any authority that such blood alcohol percentages
      21   for minors satisfy the federal law requirement in 11 U.S.C. § 523(a)(9) that the operation was illegal
      22   due to “intoxication,” but merely some level of alcohol in the person’s bloodstream without regard
      23   to “intoxication.”
      24   Findings and Conclusions of State Court Judge and Jury, and Admissions
           Establishing That Defendant-Debtor Was Intoxicated
      25   When Operating the Vehicle Involved in the Head-On Collision
      26            The California Superior Court has issued a Restitution Order and a civil Amended Judgment
      27   on Verdict relating to the accident in which Defendant-Debtor’s vehicle crashed head-on into
      28   Plaintiff’s vehicle. In both, there are express findings and conclusions made for which this court

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       1   must give Full Faith and Credit and apply the Doctrine of Collateral Estoppel.
       2          The court begins with the Amended Judgment on Verdict which has been filed in support
       3   of the Motion as Exhibit D; Dckt. 27 at 12. This Amended Judgment on Verdict includes the
       4   findings of the jury upon which the Amended Judgment is based. These findings of the jury and
       5   legal conclusions of the judge include the following as they pertain to Defendant-Debtor:
       6          A.     Defendant-Debtor admitted he was intoxicated while operating the motor vehicle,
                         and while intoxicated was negligent in causing the collision with Plaintiff’s vehicle.
       7                 Amended Judgement on Verdict, p. 2.
       8          B.     Plaintiff’s damages caused by Defendant-Debtor’s negligence while being
                         intoxicated when driving the vehicle has resulted in $2,962,902.77:
       9
                         1.      $612,902.77 for Past Medical Expenses, Past Wage Loss, and Future Wage
      10                         Loss;
      11                 2.      $650,000.00 for Past Non-Economic Loss of Physical pain, mental suffering,
                                 physical impairment, inconvenience, grief, anxiety, emotional distress and
      12                         loss of enjoyment of life; and
      13                 3.      $1,700,000.00 for Future Non-Economic Loss of Physical pain, mental
                                 suffering, physical impairment, inconvenience, grief, anxiety, emotional
      14                         distress and loss of enjoyment of life.
      15                 Id.
      16          C.     Judgment is entered for $2,962,902.77 for Plaintiff and against Defendant-Debtor.
                         Id., p. 4.
      17
      18          Plaintiff has also provided the court with the Restitution Order in which the California
      19   Superior Court Judge made extensive findings and conclusions, which include the following:
      20          A.     On August 30, 2012, after the head-on collision with Plaintiff’s vehicle, the Placer
                         County District Attorney filed a Juvenile Wardship Petition charging Defendant-
      21                 Debtor with felony drunk driving in connection with the head-on collision with
                         Plaintiff’s vehicle. Restitution Order, p. 1:15-18; Dckt. 27,
      22
                  B.     Defendant-Debtor admitted to consuming two shots of hard liquor and seven beers
      23                 in a one hour period immediately prior to the head-on collision with Plaintiff’s
                         vehicle. Id., p. 1:25-26.
      24
                  C.     Defendant-Debtor’s passenger and drinking companion estimated that Defendant-
      25                 Debtor had more than twice the amount of beer than admitted by Defendant-Debtor.
                         Id., p. 1:26.
      26
                  D.     Defendant-Debtor admitted the allegations of felony drunk driving. Id., p. 18-19.
      27
      28   ///

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       1   Additional Evidence Presented by Plaintiff
       2          Plaintiff has presented the court with Responses to Requests for Admissions given by
       3   Defendant-Debtor in the State Court Action for which the Jury awarded Plaintiff $2,962,902.77 and
       4   for which the court entered judgment thereon. These Responses are filed as Exhibit F. Dckt 27. As
       5   discussed above, Defendant-Debtor’s objection was that these Admissions are “hearsay.” These
       6   Admissions have been authenticated by Plaintiff’s counsel in the State Court Action12 as the
       7   Admissions given by Defendant-Debtor in the State Court Action in response to Plaintiff’s Request
       8   for Admissions.
       9          The term “hearsay” is defined by the U.S. Supreme Court in Federal Rules of Evidence 801
      10   as a statement made by a declarant other than while testifying at the then current trial or hearing, and
      11   such statement is offered as evidence to prove the truth of such statement. Fed. R. Evid. 801(c).
      12   However, excluded from this definition are statements by a party opponent, in pertinent part, as
      13   follows:
      14
                  (d) Statements That Are Not Hearsay. A statement that meets the following
      15          conditions is not hearsay:
                  ...
      16          (2) An Opposing Party's Statement. The statement is offered against an opposing
                  party and:
      17
                            (A) was made by the party in an individual or representative capacity;
      18
                            (B) is one the party manifested that it adopted or believed to be true;
      19
                            (C) was made by a person whom the party authorized to make a statement on
      20                    the subject; .
      21                    (D) was made by the party's agent or employee on a matter within the scope
                            of that relationship and while it existed; or
      22
                            (E) was made by the party's coconspirator during and in furtherance of the
      23                    conspiracy.
      24          The statement must be considered but does not by itself establish the declarant's
                  authority under (C); the existence or scope of the relationship under (D); or the
      25          existence of the conspiracy or participation in it under (E).
      26   Fed. R. Evid. 801(d).
      27
      28          12
                       Declaration, Dckt. 36.

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       1          Here, the Response to Admissions are statements made by the Defendant-Debtor in the State
       2   Court Action. They are signed by Defendant-Debtor’s counsel in the State Court Action and
       3   verified under penalty of perjury by the Defendant-Debtor to be true and correct. Exhibit F, p. 6;
       4   Dckt. 27. The Admissions are statements made by the Defendant-Debtor, which statements are not
       5   hearsay. In the Responses Defendant-Debtor statements/admissions include:
       6                  1.     Defendant-Debtor was negligent in causing the collision with Plaintiff’s
                                 vehicle. Request For Admission 1/Response 1.
       7
                          2.      Defendant-Debtor’s negligence was a substantial factor in causing the harm
       8                         to Plaintiff. Request For Admission 2/Response 2.
       9                  3.     Defendant-Debtor was driving the vehicle under the influence of alcohol at
                                 the time of the collision (which collision is the subject of the Restitution
      10                         Order and the Amended Judgment on Verdict).                   Request For
                                 Admission 7/Response 7.
      11
                          4.     Defendant-Debtor driving the vehicle while under the influence of alcohol
      12                         was a substantial factor in causing the collision with Plaintiff’s vehicle.
                                 Request For Admission 8/Response 8.
      13
                          5.     Defendant-Debtor consumed beer on the evening before the collision with
      14                         Plaintiff’s vehicle. Requests For Admission 13, 14/Responses13, 14.
      15   Requests for Admissions, Exhibit E, and Responses to Requests for Admissions, Exhibit F; Dckt. 27.
      16   Obligations Owed On the Restitution Order
           and Amended Judgment on Verdict
      17   Are Nondischarageable Pursuant to 11 U.S.C. § 523(a)(9)
      18          The evidence presented by Plaintiff establishes that the obligation of Defendant-Debtor
      19   damages for personal injury to Plaintiff were caused by the debtor's operation of a motor vehicle
      20   which was unlawful because the debtor was intoxicated from using alcohol. The jury in awarding
      21   the State Court Judgment and the State Court Judge in issuing the Restitution Order each expressly
      22   included a finding as part of such Judgment or Order that Defendant-Debtor was intoxicated. The
      23   findings are based upon Defendant-Debtor’s admissions that he was intoxicated.
      24          Defendant-Debtor argues that since reference is made to Defendant-Debtor being negligent,
      25   there needs to be a further determination that he was intoxicated. First, that Defendant-Debtor was
      26   intoxicated is included in the Amended Judgment on the Verdict and the Restitution Order. Second,
      27   the reference to negligence is that it was not an intentional tort – there is no finding that the
      28   Defendant-Debtor, with malice aforethought, consciously steered his car into the oncoming traffic,

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       1   sighted in on the front of Plaintiff’s car, and then intentionally crashed head-on into Plaintiff’s car.
       2          The Defendant-Debtor has been afforded his day, multiple times, over the past eight years,
       3   in court to contest his being intoxicated when the head-on collision occurred. He did not contest it
       4   and admitted it. As shown in the Restitution Order, the Defendant-Debtor’s passenger in the vehicle
       5   reported that he drank significantly more alcohol than Defendant-Debtor admitted to in those
       6   proceedings.
       7          Defendant-Debtor tries to weave an argument that his admitting being intoxicated does not
       8   mean that the accident was caused by the intoxication, but that it could merely have been his
       9   inexperience as a driver. Congress provides in 11 U.S.C. § 523(a)(9) that the obligations will be
      10   non-dischargeable if it was caused by the operation of a vehicle which was unlawful because the
      11   debtor was intoxicated from alcohol while operating the vehicle. That has been determined - the
      12   Defendant-Debtor was intoxicated while operating the vehicle when the head-on collision with
      13   Plaintiff’s car occurred.
      14           As stated in the Restitution Order, Defendant-Debtor “was charged with a felony violation
      15   of Vehicle Code Section 23152(a) [which is for driving while intoxicated, not “merely” having a
      16   blood alcohol level in excess of 0.08%] and an enhancement for great bodily injury pursuant to
      17   Penal Code Section 12022(a) [use of a deadly weapon in commission of a felony].” Restitution
      18   Order, FN.1; Dckt. 27. Defendant-Debtor admitted the felony violation and was committed as a
      19   ward of the court to 90 days in juvenile hall and probation. Defendant-Debtor admitted in the State
      20   Court Action that he was intoxicated while operating the vehicle at the time of the head-on collision
      21   with Plaintiff’s vehicle which caused the damages that are the subject of the Restitution Order and
      22   Amended Judgment.
      23          The obligations owed by Defendant-Debtor to Plaintiff under the Restitution Order and the
      24   Amended Judgment on Verdict are nondischargeable pursuant to 11 U.S.C. § 523(a)(9).
      25   The Obligations Owed Under the Restitution Order
           and Amended Judgment on Verdict are
      26   Nondischargeable Pursuant to 11 U.S.C. § 1328(a)(4)
      27          Plaintiff also seeks to have the Restitution Order and the Amended Judgment on Verdict
      28   determined nondischargeable pursuant to 11 U.S.C. § 1328(a)(4) because the obligations are “for

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       1   restitution, or damages, awarded in a civil action against the debtor as a result of willful or malicious
       2   injury by the debtor that caused personal injury to an individual or the death of an individual.”
       3           It is established that the Restitution Order is from a civil proceeding (not a criminal
       4   conviction) and the Amended Judgment on Verdict is a civil judgment.
       5           Here, as addressed above, the damages for both the Restitution Order and the Amended
       6   Judgment on Verdict are compensatory damages caused by the personal injury to Plaintiff by the
       7   Defendant-Debtor.
       8           To be nondischargeable, the restitution or damages must be caused by the “willful or
       9   malicious injury” to the Plaintiff caused by the Defendant-Debtor. As noted in 8 Collier on
      10   Bankruptcy, 16th Edition, ¶ 1328.02[k] (emphasis added):
      11           In addition, the debt must be a result of willful or malicious injury. This is a lower
                   standard than section 523(a)(6), which requires the debt to be the result of a willful
      12           and malicious injury. However, unlike section 523(a)(6), injuries to property are not
                   included. The injury must be a personal injury to an individual or the death of an
      13           individual.
      14           The term willful and the term malicious have been well developed by the Ninth Circuit Court
      15   of Appeals in the context of 11 U.S.C. § 523(a)(6). Those analyses are applicable here.
      16           As discussed by the Ninth Circuit Court of Appeals in Ormsby v. First Am. Title Co. (In re
      17   Ormsby), 591 F.3d 1199 (9th Cir. 2010):
      18                   The Supreme Court in Kawaauhau v. Geiger (In re Geiger), 523 U.S. 57, 118
                   S. Ct. 974, 140 L. Ed. 2d 90 (1998), made clear that for section 523(a)(6) to apply,
      19           the actor must intend the consequences of the act, not simply the act itself. Id. at 60.
                   Both willfulness and maliciousness must be proven to block discharge under section
      20           523(a)(6).
      21                   In this Circuit, " § 523(a)(6)'s willful injury requirement is met only when the
                   debtor has a subjective motive to inflict injury or when the debtor believes that injury
      22           is substantially certain to result from his own conduct." Carrillo v. Su (In re Su), 290
                   F.3d 1140, 1142 (9th Cir. 2002). The Debtor is charged with the knowledge of the
      23           natural consequences of his actions. Cablevision Sys. Corp. v. Cohen (In re Cohen),
                   121 B.R. 267, 271 (Bankr. E.D. N.Y. 1990); see Su, 290 F.3d at 1146 ("In addition
      24           to what a debtor may admit to knowing, the bankruptcy court may consider
                   circumstantial evidence that tends to establish what the debtor must have actually
      25           known when taking the injury-producing action.").
      26                   "A malicious injury involves (1) a wrongful act, (2) done intentionally,
                   (3) which necessarily causes injury, and (4) is done without just cause or excuse."
      27           Petralia v. Jercich (In re Jercich), 238 F.3d 1202, 1209 (9th Cir. 2001) (internal
                   citations omitted). Malice may be inferred based on the nature of the wrongful act.
      28           See Transamerica Commercial Fin. Corp. v. Littleton (In re Littleton), 942 F.2d 551,

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       1          554 (9th Cir. 1991). 7 To infer malice, however, it must first be established that the
                  conversion was willful. See Thiara, 285 B.R. at 434.
       2
       3          In considering the issues of willful and malicious in the context of driving while intoxicated,
       4   the Ninth Circuit held in In re Adams, 761 F.2d 1422, 1427 (9th Cir. 1985), that:
       5          [w]e hold that the voluntary acts of drinking and driving while intoxicated constitute
                  conduct sufficiently intentional to support a finding of willfulness and malice, as
       6          contemplated by section 523(a)(6) and that this interpretation must be given
                  retroactive application. See, e.g., Callejas v. McMahon, 750 F.2d at 731; Brown v.
       7          Marquette Savings and Loan Association, 686 F.2d at 615. Therefore, debts arising
                  from liabilities which are incurred as a result of drunk driving, whether such conduct
       8          occurred before or after enactment of the 1984 amendment, are nondischargeable.
       9          In considering these alternative grounds for relief pursuant to 11 U.S.C. § 1328(c)(4),
      10   Congress providing therein that the conduct need only be willful or malicious, this court concludes
      11   as follows.
      12
           The Conduct of Defendant-Debtor
      13   Is Willful For Purposes of 11 U.S.C. § 1328(a)(4)
      14          The conduct of Defendant-Debtor in driving while intoxicated was willful as that term is
      15   used in 11 U.S.C. § 523(a)(6) as established by the Ninth Circuit Court of Appeals in In re Adams,
      16   761 F.2d 1422, 1427 (9th Cir. 1985). The nondischargeability provisions of 11 U.S.C. § 1328(a)(4)
      17   overlap those of 11 U.S.C. § 523(a)(6), and the Ninth Circuit law is equally applicable here.
      18          While there is no showing that there was a subjective intent to harm Plaintiff (no intentional
      19   tort), a person choosing to drive while intoxicated necessarily knows that significant harm to the
      20   person and property of others, as well as to the intoxicated person him/herself, is substantially
      21   certain to result. The injuries to Plaintiff are the natural consequences of Defendant-Debtor
      22   choosing to drive while intoxicated.
      23          Clearly, not all courts agree with the 1985 ruling of the Ninth Circuit Court of Appeals. The
      24   Tenth Circuit concluded in In Re Compos, 768 F.2d 1155, 1159 (10th Cir. 1985), that for 11 U.S.C.
      25   § 526(a)(6) to apply there must be proof of an intent to injury, not “mere” reckless of driving while
      26   intoxicated. See also Cassidy v. Minihan, 794 F.2d 340 (8th Cir. 1986) (requiring a showing of
      27   intent to harm, not “mere” reckless disregard).
      28          Not withstanding the contrary Circuit opinions, there is established law in the Ninth Circuit

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       1   that driving while intoxicated is willful for purposes of 11 U.S.C. § 523(a)(6), which provides
       2   nondischargeablity grounds as Congress created specifically for Chapter 13 cases in 11 U.S.C.
       3   § 1328(a)(4).
       4
           The Conduct of Defendant-Debtor is
       5   Malicious For Purposes of 11 U.S.C. § 1328(a)(4)
       6          The conduct of Defendant-Debtor in driving while intoxicated was malicious. It is a
       7   wrongful act which is in violation of the law. It was determined in the State Court and admitted
       8   therein by Defendant-Debtor that he was intoxicated while operating the vehicle at the time of the
       9   head-on collision with Plaintiff’s vehicle. This was actual intoxication and not “merely” blowing
      10   a blood alcohol level in excess of the small percentage allowed for someone under 21 years of age.
      11          After drinking, Defendant-Debtor intentionally got into the vehicle and drove. There is
      12   nothing in the Restitution Order, Amended Judgment on Verdict, Requests for Admissions and
      13   Responses, or the Exhibits provided by Defendant-Debtor that he did not intend to get into the car
      14   and drive. There is nothing showing that Defendant-Debtor’s getting into the car and driving was
      15   not an intentional act.
      16          Defendant-Debtor intentionally driving his vehicle necessarily caused the injury. He did so
      17   while intoxicated.
      18          Defendant-Debtor offers no just cause or excuse for driving the vehicle while intoxicated and
      19   causing the head-on collision with Plaintiff that resulted in Defendant-Debtor becoming a ward of
      20   the court for violating California law.
      21          Defendant-Debtor’s conduct which caused Plaintiff’s injuries and the damages relating
      22   thereto was malicious.
      23          Congress provides in 11 U.S.C. § 1328(a)(4) that obligations based on restitution or damages
      24   awarded in a civil action for personal injury of an individual against the debtor as a result of that
      25   debtor’s willful or malicious conduct is nondischargeable. Here, the Restitution Order and the
      26   Amended Judgment are both awarded for the personal injury to Plaintiff caused by Defendant-
      27   Debtor’s operation of a vehicle while intoxicated. As stated above the Defendant-Debtor’s conduct
      28   was willful. This court also determines that the Defendant-Debtor’s conduct was malicious. Each

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       1   of these are separate and independent grounds for determination of nondischargeability pursuant to
       2   11 U.S.C. § 1328(a)(4).
       3          The obligations of Defendant-Debtor to Plaintiff arising under the Restitution Order and the
       4   Judgment are nondischargeable pursuant to 11 U.S.C. § 1328(a)(4).
       5   Amount of the Nondischargeable Obligations
       6          The court addressed with the Plaintiff the amount of the obligations that are
       7   nondischargeable. The Restitution Order is for $376,290.00, consisting of $279,969.00 in medical
       8   costs and $96,321.00 in lost wages. Restitution Order, p. 2:8-13; Dckt. 27. Exhibit B is Plaintiff’s
       9   Restitution Statement showing that these are for amounts incurred prior to November 4, 2013. Id.
      10          The Amended Judgment on the Verdict includes $324,152.77 in past medical expenses and
      11   $168,750.00 in past wage loss. Exhibit B, p. 2; Id. These amounts were determined by the jury in
      12   the State Court Action as of October 19, 2015. Id. Based on the analysis in the Restitution Order
      13   of lost wages and the medical expenses included as stated in the Restitution Statement, the
      14   obligation owed on the Restitution Order is included in the Amended Judgment on the Verdict.
      15          At the hearing on the Motion for Summary Judgment, Plaintiff concurred that the
      16   nondischargeable debt be computed on the Amended Judgment on Verdict amount of $2,962,902.77,
      17   and all interest, fees and costs recoverable thereon. This may well be based on the practical
      18   recovery of moneys from this debtor.
      19          Therefore, the court determines that the aggregate amount owing on the Restitution Order
      20   and the Amended Judgment on Verdict is the total amount as computed on the Amended Judgment
      21   on Verdict.
      22               GRANTING OF SUMMARY JUDGMENT FOR PLAINTIFF IN PART
                                           AND FOR
      23                            DEFENDANT-DEBTOR IN PART
      24          For the grounds as stated above in this Memorandum Opinion and Decision, the court grants
      25   the motion and will enter judgment for David Schoonover, the Plaintiff, and against Cameron Elford,
      26   the Defendant-Debtor determining that:
      27          a.      the Amended Judgment on Verdict for $2,962,902.77 (“Amended Judgment on
                          Verdict”) in David Schoonover et al. v. Cameron Elford and Lisa Pashanee,
      28                  California Superior Court Case, County of Sacramento, No. 34-2012-00131228,

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       1                  (“State Court Action”); and
       2          b.      the order for restitution in the amount of $376,200.00 (“Restitution Order”) in In
                          Matter of Cameron Elford, Minor, California Superior Court Juvenile Case, County
       3                  of Sacramento, No. 132824, (“Juvenile Case”),
       4          and the obligations thereunder are nondischargeable pursuant to 11 U.S.C. § 523(a)(9) and
                  11 U.S.C. § 1328(a)(4) as separate and independent grounds for the Amended Judgment on
       5          Verdict and the Restitution Order, and each of them.
       6          The court determining that there are no genuine disputes as to any material facts concerning
       7   the issues relating to there not being restitution ordered as part of a criminal conviction, the court
       8   grants judgment for Cameron Elford, the Defendant-Debtor, and against David Schoonover, the
       9   Plaintiff denying any relief requested pursuant to 11 U.S.C. § 1328(a)(3).
      10          The court’s judgment also determines the amount of the nondischargeable debt to be the
      11   amount stated in the Amended Judgment on the Verdict, $2,962,902.77, plus all interest, fees, costs,
      12   and expenses recoverable as part of the Amended Judgment on the Verdict, with both the Restitution
      13   Order and Amended Judgment enforceable as nondischargeable debts, with the aggregate amount
      14   recoverable on the nondischargeable debts not to exceed the total amount that may be recovered on
      15   the Amended Judgment on the Verdict.
      16          Finally, that Plaintiff, as the prevailing party, may seek the recovery of attorney’s fees and
      17   costs as permitted under applicable law as provided in Federal Rule of Bankruptcy Procedure 7054,
      18   which incorporates provisions of Federal Rule of Civil Procedure 54.
      19          The court shall enter a separate order granting the relief above.
      20   Dated: August
                    August, 24,
                            20202020
      21
      22
                                                          RONALD H. SARGIS, Chief Judge
      23                                                  United States Bankruptcy Court
      24
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       1
                              Instructions to Clerk of Court
       2                            Service List - Not Part of Order/Judgment
       3   The Clerk of Court is instructed to send the Order/Judgment or other court generated
           document transmitted herewith to the parties below. The Clerk of Court will send the document
       4   via the BNC or, if checked ____, via the U.S. mail.
       5
       6    Debtor(s) / Defendant-Debtor(s)                Attorney for the Debtor(s) / Defendant-
                                                           Debtor(s) (if any)
       7
       8    Bankruptcy Trustee (if appointed in the        Office of the U.S. Trustee
            case)                                          Robert T. Matsui United States Courthouse
       9                                                   501 I Street, Room 7-500
                                                           Sacramento, CA 95814
      10
            Attorney for the Trustee (if any)              Barry H. Spitzer, Esq.
      11                                                   980 9th Street, Ste. 380
                                                           Sacramento, CA 95814
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